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                                   MISSION STATEMENT




                                       is committed to the diinfriation of personal, institutional,
     and cultural violence against women, children, and men, regardless of. their race, creed,
     age, sex, color, national origin, religion, sexual ori~ntation, or disability. By ueveloping
     strong community support and a professional program,
     provides safety and quality emergency, intervention, advocacy, preventior~ and
     educational services for victims and witnesses of domestic and/or sexual violence.
                                  works for systemic changes and changes in public attitudes to .
     assure and empower families with options for building lives free of violence.




                                                                            Program A Decl., Ex. 1
